

Matter of Morabito (2023 NY Slip Op 00367)





Matter of Morabito


2023 NY Slip Op 00367


Decided on January 26, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 26, 2023

PM-10-23
[*1]In the Matter of Leah Bury Morabito, an Attorney. (Attorney Registration No. 3895687.)

Calendar Date:January 23, 2023

Before:Garry, P.J., Clark, Pritzker, Fisher and McShan, JJ.

Leah Bury Morabito, Bethesda, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Leah Bury Morabito was admitted to practice by this Court in 2000 and lists a business address in Potomac, Maryland with the Office of Court Administration. Morabito now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Morabito's application.
Upon reading Morabito's affidavit sworn to December 6, 2022 and filed December 12, 2022, and upon reading the January 18, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Morabito is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Pritzker, Fisher and McShan, JJ., concur.
ORDERED that Leah Bury Morabito's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Leah Bury Morabito's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Leah Bury Morabito is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Morabito is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Leah Bury Morabito shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








